Case 23-13237-pmm            Doc 12-5 Filed 10/27/23 Entered 10/27/23 11:56:54             Desc
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                             United States Bankruptcy Court
                             Eastern District of Pennsylvania
In re:                                             Case No. 23-13237-pmm

         Tri-State Paper, Inc.,                    Chapter 11

                        Debtor.


                                     Certificate of Service

       I certify that on this date I served a true and correct copy of the Debtor’s Application to
Employ Cibik Law, P.C. as Debtor’s Counsel along with the notice on the following parties by first
class mail or through the CM/ECF system:
U.S. Trustee (CM/ECF)




Date: October 27, 2023                          /s/ Michael A. Cibik
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